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                          OUNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 UNITED STATES OF AMERICA

 vs.                                                            CASE NO: 8:10-cr-96-T-17MAP

 COURTNEY ANTOINE SANDERS


   Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under 18
                    U.S.C. § 3582(c)(2) Based on USSG Amend. 782

         Before the Court is the defendant’s motions to reduce his prison term under 18 U.S.C. §

 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG §1B1.10(d)

 (2014). Doc. #362. The United States does not oppose a reduction. Doc. #362. The parties stipulate

 that he is eligible for a reduction because Amendment 782 reduces the guideline range applicable

 to him, see USSG §1B1.10(a)(1). Doc. #362. The Court agrees that he is eligible for a reduction and

 adopts the amended guideline calculations in the parties’ stipulation. Doc. #362.

         Having reviewed the facts in both the original presentence investigation report and the

 February 3, 2015 memorandum from the United States Probation Office in light of the factors in 18

 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger posed by a

 reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that a reduction of 14 months

 is warranted. Consistent with USSG §1B1.10(e)(1), and in light of the practical difficulties of a

 possible release date on Sunday, November 1, 2015, the effective date of this order is November 2,

 2015.
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        Thus:

        (1)     The Court grants the defendant’s motions, Docs. #362.

        (2)     The Court reduces the defendant’s prison term from 84to 70 months or time

                served, whichever is greater.

        (3)     The effective date of this order is November 2, 2015.

        DONE and ORDERED in Chambers, Tampa, Florida on April 16, 2015.




 Copies furnished to:

 Counsel of Record
 Magistrate Judge
 United States Marshals Service
 United States Probation Office
 United States Pretrial Services
